Case 8:11-cv-00013-MSS-MAP Document 309 Filed 10/09/15 Page 1 of 9 PageID 8730




                                  UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                         TAMPA DIVISION

    PATRICIA HILSON
    and NICOLE HILSON,

                    Plaintiffs,

                    v.                                    CASE NO.:8:11-cv-00013-35MAP

    GEICO GENERAL INSURANCE
    COMPANY,

                Defendant.
    ____________________________________/

                             REPORT AND RECOMMENDATION

            This case presents an issue of first impression in Florida: Is an insured who obtains

    a judgment against her insurer for the negligence of its in-house counsel in defending her

    entitled to her reasonable attorneys’ fees under Fla. Stat. § 627.428(1) in prosecuting the

    negligence action? I say the answer is yes and recommend the district judge award the

    Hilsons their attorneys’ fees in the amount of $614,600.1

            A. Background

            The Eleventh Circuit’s decision affirming the Hilsons’ negligence judgment sets out

    the relevant events triggering Geico’s representation of the Hilsons:

            The Hilsons’ sixteen-year old daughter was involved in an automobile
            accident in which Ms. Johnson was injured. The daughter was at fault. The


            1
               The Hilsons’ motion for fees is at doc. 295; Geico’s response is at doc. 303. The
    district judge referred this matter, as well as the motion for costs (doc. 243), to me for reports
    and recommendations. 28 U.S.C. § 636. The Parties agreed to the costs (doc. 301); thus,
    only the Hilsons’ motion for attorneys’ fees remains outstanding.
Case 8:11-cv-00013-MSS-MAP Document 309 Filed 10/09/15 Page 2 of 9 PageID 8731




           Insurance Company [Geico] provided insurance coverage for the Hilsons.
           Before the underlying plaintiff, Johnson, filed suit against the Hilsons, the
           Company’s adjusters had learned the name of Johnson’s treating physician,
           Dr. Laborde, but despite assiduous efforts had not been successful in
           obtaining from Johnson’s attorneys a copy of Laborde’s medical records, or
           much detail about what his records would have shown. In particular, the
           Insurance Company’s file revealed the name of the treating physician and the
           fact (but not the extent) of Johnson’s back injuries, but did not reveal a
           consultation with a surgeon or the surgeon’s recommendation of surgery.
           Without the foregoing information, the Insurance Company declined to settle
           the underlying case when Johnson’s attorneys offered to settle within the
           $10,000 policy limits on January 24, 2006. Later a jury awarded Johnson
           very substantial damages against the Hilsons. This excess judgment, the
           excess over the policy limits, forms the basis of the damages that the Hilsons
           seek in their instant suit against the Insurance Company.

    Doc. 287 at 2-3.

           The district judge submitted two claims for the jury’s consideration: (1) did Geico

    act in bad faith in failing to settle Johnson’s claim against the Hilsons; and (2) did Geico

    commit professional negligence in handling Johnson’s lawsuit against the Hilsons and

    thereby cause the Hilsons’ harm. See doc. 233 at 8 (Court’s Jury Instruction #7). The jury

    found for Geico on the bad faith claim but concluded that Geico was professionally negligent

    (doc. 234). Based on the verdict and the Parties’ stipulation as to the amount of damages due

    on that claim (an amount that equated to the excess judgments against the Hilsons), the Court

    directed the Clerk to enter judgment for the Hilsons and against Geico in the amount of

    $1,077,395.40. See docs. 280, 281. Geico appealed, and the Eleventh Circuit affirmed,

    finding that “[a] reasonable jury could find, and this jury did find, that [Geico’s in-house

    counsel] Bloom’s actions constituted negligence.” See doc. 287 at 5.

           B. Entitlement to Fees – the scope of “under a policy”

                                                 2
Case 8:11-cv-00013-MSS-MAP Document 309 Filed 10/09/15 Page 3 of 9 PageID 8732




           The Hilsons claim entitlement to attorneys’ fees under Fla. Stat. § 627.428(1). That

    provision says the following:

           Upon the rendition of a judgment or decree by any of the courts of this state
           against an insurer and in favor of any named or omnibus insured or the
           named beneficiary under a policy or contract executed by the insurer, the trial
           court or, in the event of an appeal in which the insured or beneficiary
           prevails, the appellate court shall adjudge or decree against the insurer and in
           favor of the insured or beneficiary a reasonable sum as fees or compensation
           for the insured’s or beneficiary’s attorney prosecuting the suit in which the
           recovery is had.

    Fla. Stat. § 627.428(1). The Hilsons read § 627.428(1) broadly, arguing it “applies in

    virtually all suits arising under insurance contracts[.]” See doc. 295 at 6 (quoting State Farm

    Fire & Cas. Co. v. Palma, 629 So. 2d 830, 832 (Fla. 1993)). In sum, because they won, they

    get their attorneys’ fees. Geico, however, posits four reasons for why the statute does not

    apply here: (1) the Hilsons’ professional negligence action sounds in tort as opposed to

    contract, making the successful aspect of the litigation outside the provision’s contractual

    limitation; (2) the law’s reach is limited to coverage disputes where an insurer wrongfully

    withholds benefits owing under the policy; (3) the Hilsons’ negligence claim arose from their

    relationship with Bloom and not from Geico’s actions under the insurance policy; and (4) the

    Hilsons failed to plead entitlement to fees (doc. 303).

           Geico’s last two arguments are easily resolved. Geico stipulated during the course

    of the trial that its counsel (Bloom) acted within the course and scope of his employment

    with the company and that any liability for Bloom’s performance would be the company’s

    to bear. See doc. 267 at 5-6. Bloom acted as Geico’s agent, plain and simple. Geico’s real


                                                  3
Case 8:11-cv-00013-MSS-MAP Document 309 Filed 10/09/15 Page 4 of 9 PageID 8733




    complaint is that the Hilsons’ negligence count failed to state a cognizable cause of action.

    Id. If that what Geico is saying here, the Eleventh Circuit rejected that contention.2 As to

    their last argument, the failure to plead for fees in their complaint, the Hilsons correctly point

    out that a formal demand for fees is not required and, in any event, they asked for fees in

    their operative complaint (doc. 85). That leaves Geico’s first two reasons, and both are

    related even though Geico says they are distinct.

            The starting point for the analysis is of course the text of the statute. Cont’l Cas. Co.

    v. Ryan Inc. E., 974 So. 2d 368, 374 (Fla. 2008) (reviewing this statute). Section 627.428(1)

    conspicuously omits any reference to good faith, bad faith, willfulness, or negligence. Ins.

    Co. of N. Am. v. Lexow, 602 So. 2d 528, 531 (Fla. 1992). Accordingly, the insurer’s good

    faith (or its lack of bad faith) is simply “irrelevant.” Id. “If the dispute is within the scope

    of section 627.428(1) and the insurer loses, the insurer is always obligated for attorney’s

    fees.” Id.; see also Palma, 629 So. 2d at 832 (“[T]he statute applies in virtually all suits

    arising under insurance contracts[.]”). The question then is whether the Hilsons’ judgment

    is “under a policy or contract executed by the insurer.”

            Geico says the answer to this question is no, using a simple syllogism. Section

    627.428(1) requires an insured acquire a “judgment” against her insurer for an action “under



            2
              “Under the law-of-the-case doctrine, the resolution of an issue decided at one stage
    of the case is binding at later stages of the same case. The doctrine operates to preclude
    courts from revisiting issues that were decided explicitly or by necessary implication in a
    prior [stage].” Schaivo ex rel. Schindler v. Schiavo, 403 F.3d 1289, 1291 (11th Cir. 2005)
    (internal citations omitted).

                                                    4
Case 8:11-cv-00013-MSS-MAP Document 309 Filed 10/09/15 Page 5 of 9 PageID 8734




    a policy or contract.” The Hilsons’ professional negligence judgment is for a tort (as

    opposed to a breach of contract). Therefore, the Hilsons’ judgment cannot be one “under a

    policy or contract” as § 627.428(1) demands. That logic oversimplifies the analysis to a legal

    pigeonhole. Sometimes the line between a breach of contract and a tort is blurry. See Tiara

    Condo. Ass’n, Inc. v. Marsh & McLennan Cos., 110 So. 3d 399, 401 (Fla. 2013) (“[T]he

    fundamental boundary” between contract law and tort law is that a contract action is

    “designed to enforce the expectancy interests of the parties,” whereas a tort action serves to

    compensate the victim who was physically harmed by another who failed to exercise a duty

    of reasonable care.).

            Although negligence sounds in tort, the Hilsons’ label for their successful action is

    unimportant here. The expectation that the Hilsons’ judgment satisfies is the one that their

    policy guaranteed – that Geico will defend the Hilsons in matters the policy covered. Geico

    avoids this fact and seems to suggest that § 627.428(1)’s coverage is limited to those

    instances where an insurer has denied coverage to an insured, even though the duty to defend

    is contractually based and broader than the duty to pay. Allstate Ins. Co. v. RJT Enters., Inc.,

    692 So. 2d. 142, 144-145 (Fla. 1997). Indeed, contrary to Geico’s position, Florida courts

    recognize that § 627.428(1) “was promulgated to protect an insured from an insurer’s non-

    compliance with the duty to defend . . . .” Argonaut Ins. Co. v. Md. Cas. Co., 372 So. 2d

    960, 964 (Fla. 3rd DCA 1979). Florida courts also take the view that an insurer breaches this

    duty not only by refusing to defend its insured but also by inadequately defending its insured.

    Aaron v. Allstate Ins. Co., 559 So. 2d 275, 277 (Fla. 4th DCA 1990) (upholding cause of

                                                   5
Case 8:11-cv-00013-MSS-MAP Document 309 Filed 10/09/15 Page 6 of 9 PageID 8735




    action against insurer for an inadequate defense); Carrousel Concessions, Inc. v. Fla. Ins.

    Guar. Assoc., 483 So. 2d 513, 516 (Fla. 3d DCA 1986) (An insurer’s contractual duty to

    defend encompasses the obligation to “provide an adequate defense.”). The Hilsons’

    judgment falls within § 627.428(1)’s ambit; accordingly, they are entitled to their attorneys’

    fees.

            C. Fee Multiplier

            The Hilsons and Geico successfully mediated and reached agreements as to costs

    (i.e., 28 U.S.C. § 1920) and the amount of the lodestar applicable for attorneys’ fees

    ($614,600; see doc. 301). Their agreement, however, asked the Court to decide the Hilsons’

    entitlement to fees and, if entitled, to decide if their counsel deserved a multiplier to the

    stipulated lodestar. Having answered the entitlement question, I address the applicability of

    a multiplier to the stipulated lodestar. Standard Guar. Ins. Co. v. Quanstrom, 555 So. 2d

    828, 831-834 (Fla. 1990). Any decision to award a multiplier to the attorneys’ fees awarded

    pursuant to § 627.428 is discretionary. Allstate Ins. Co. v. Regar, 942 So. 2d 969, 974-975

    (Fla. 2d DCA 2006). And, as the United States Supreme Court has explained, “there is a

    ‘strong presumption’ that the lodestar figure is reasonable” and this presumption is overcome

    only in “rare” circumstances. Perdue v. Kenny A. ex rel. Winn, 559 U.S. 542, 554 (2010).

    Even in complex cases, this presumption remains because the lodestar amount is based on

    the number of hours reasonably spent on the litigation, which reflects the novelty and

    complexity of the case. State Farm Fla. Ins. Co. v. Alvarez, No. 3D14-1291, 2015 WL

    5438561, at *4 (Fla. 3d DCA Sept. 16, 2015).

                                                  6
Case 8:11-cv-00013-MSS-MAP Document 309 Filed 10/09/15 Page 7 of 9 PageID 8736




            The Florida Supreme Court set forth three factors to be considered in awarding a

    multiplier: (1) whether the relevant market requires a contingency fee multiplier to obtain

    competent counsel, (2) whether the attorneys were able to mitigate the risk of nonpayment

    in any way, and (3) whether any of the factors set forth in Florida Patient’s Compensation

    Fund v. Rowe, 472 So. 2d 1145, 1150 (Fla. 1985), are applicable, especially the amount

    involved, the results obtained, and the type of fee arrangement between the attorneys and the

    clients. Quanstrom, 555 So. 2d at 834. If a court decides a multiplier is appropriate,

    Quanstrom offers this guidance: “If the trial court determines that success was more likely

    than not at the outset, it may apply a multiplier of 1 to 1.5; if the trial court determines that

    the likelihood of success was approximately even at the outset, the trial judge may apply a

    multiplier of 1.5 to 2.0; and if the trial court determines that success was unlikely at the

    outset of the case, it may apply a multiplier of 2.0 to 2.5.” Id. Here, a multiplier is not

    warranted under the Quanstrom factors.

            As to Quanstrom’s first prong, “there should be evidence in the record, and the trial

    court should so find, that without risk-enhancement [the] plaintiff would have faced

    substantial difficulties in finding counsel in the local or other relevant market.” Sun Bank

    of Ocala v. Ford, 564 So. 2d 1078, 1079 (Fla. 1990). “If there is no evidence that the

    relevant market required a contingency fee multiplier to obtain competent counsel, then a

    multiplier should not be awarded.” USAA Cas. Ins. Co.v. Prime Care Chiropractic Ctrs.,

    P.A., 93 So. 3d 345, 347 (Fla. 2d DCA 2012). Here, the Hilsons have not presented

    sufficient evidence that they would have been unable to find a lawyer who would have taken

                                                   7
Case 8:11-cv-00013-MSS-MAP Document 309 Filed 10/09/15 Page 8 of 9 PageID 8737




    the case without the possibility of a multiplier. In fact, the Hilsons do not present any

    evidence that they had difficulty obtaining counsel without a fee multiplier. Rather, they

    merely proffer attorney (and their fee expert) Dennis Diecidue’s unsupported opinion that

    “it would be difficult for a plaintiff to obtain competent counsel, in the Tampa Bay area, on

    a claim of insurance bad faith or legal malpractice, without that lawyer having the possibility

    to obtain a contingency risk fee multiplier.” Doc. 295-5 at 5. This is not enough. See, e.g.,

    Rynd v. Nat’l Mut. Fire Ins. Co., No. 8:09-CV-1556-T-27TGW, 2012 WL 939247, at *3

    (M.D. Fla. Mar. 20, 2012) (adopting report and recommendation that concluded Plaintiff

    failed to produce reliable evidence that he would have had difficulty finding counsel in the

    Tampa Bay market absent a multiplier). Therefore, I decline to apply the multiplier.

           D. Conclusion

           For all these reasons, I recommend:

           1. The Hilsons’ motion for attorneys’ fees (doc. 295) be GRANTED; and

           2. The Hilsons be awarded $614,600 in attorneys’ fees.

    IT IS SO REPORTED in Tampa, Florida on October 9, 2015.




                                      NOTICE TO PARTIES

           A party has fourteen days from this date to file written objections to the Report and

    Recommendation’s factual findings and legal conclusions. A party’s failure to file written

                                                  8
Case 8:11-cv-00013-MSS-MAP Document 309 Filed 10/09/15 Page 9 of 9 PageID 8738




    objections waives that party’s right to challenge on appeal any unobjected-to factual finding

    or legal conclusion the district judge adopts from the Report and Recommendation. See 11th

    Cir. R. 3-1.




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